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                                                            June 5, 2018
      Via ECF Filing
      Hon. A. Kathleen Tomlinson, U.S. Magistrate Judge
      United States District Court
      100 Federal Plaza
      Central Islip, NY 11722

                         Re:         In re Cablevision Consumer Litig. (No. 10-CV-4992 (JS)(AKT))

      Dear Judge Tomlinson:

              I represent Defendants Cablevision Systems Corporation and CSC Holdings, LLC. I
      write to advise the Court that Mr. Andrew Genser, who previously appeared for and represented
      Defendants, has departed Kirkland & Ellis LLP. Kirkland & Ellis LLP will continue to represent
      Defendants in this matter, and I do not believe that Mr. Genser’s withdrawal as counsel will have
      any material effect on the schedule or cause prejudice to any party. Accordingly, I respectfully
      request that Mr. Genser be relieved as counsel for Defendants in this matter, and that the docket
      be amended to reflect this change.

                                                                        Respectfully submitted,

                                                                        /s Dmitriy Tishyevich
                                                                        Dmitriy Tishyevich

      cc: All Counsel of Record (via ECF)




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